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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

 UNITED STATES OF AMERICA                    ) CR 218-14
                                             )
              v.                             )
                                             )
 ANDREW JACKSON                              )

              GOVERNMENT’S RULE 16 EXPERT DISCLOSURE

      The United States of America, by and through Bobby L. Christine, United

States Attorney for the Southern District of Georgia, hereby states as follows:

      1.     Pursuant to Fed. R. Crim. Proc. 16(a)(1)(G), the Government hereby

gives notice that it may call the following individuals as an expert witness at the trial

of the above-captioned matter.

      2.     The Government may call Elizabeth Adkins as an expert witness at the

trial of this case.    Ms. Adkins is a Senior Forensic Chemist with the Drug

Enforcement Administration, Office of Forensic Sciences, in Miami, Florida. Ms.

Adkins is an expert in the testing and identification of controlled substances. She is

expected to testify as to the testing, analysis, and identification of the controlled

substances seized in this case. Ms. Adkins’s analysis and conclusions are set forth

in the Chemical Analysis Reports produced to Defendant in discovery. Ms. Adkins’s

qualifications are set forth in her curriculum vitae produced to Defendant in

discovery.

      3.     The Government may call Deepa Vanmali as an expert witness at the

trial of this case.   Ms. Vanmali is a Senior Forensic Chemist with the Drug
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Enforcement Administration, Office of Forensic Sciences, in Miami, Florida. Ms.

Vanmali is an expert in the testing and identification of controlled substances. She

is expected to testify as to the testing, analysis, and identification of the controlled

substances seized in this case. Ms. Vanmali’s analysis and conclusions are set forth

in the Chemical Analysis Reports produced to Defendant in discovery.                 Ms.

Vanmali’s qualifications are set forth in her curriculum vitae produced to Defendant

in discovery.

      4.        The Government may call Jeremy Johnson as an expert witness at the

trial of this case. Mr. Johnson is an agent with the Chatham-Savannah Counter

Narcotics Team in Savannah, Georgia.           Mr. Johnson is a certified marijuana-

identification examiner, having successfully completed all certification requirements

established by the Georgia Bureau of Investigation, Division of Forensic Sciences.

Mr. Johnson is expected to testify as to the testing, analysis, and identification of the

marijuana seized in this case. Mr. Johnson’s analysis and conclusions are set forth

in the CNT Marijuana Identification Official Reports produced to Defendant in

discovery. Mr. Johnson’s GBI certification also has been produced to Defendant in

discovery.

      This 18th day of January, 2019.

                                           BOBBY L. CHRISTINE
                                           UNITED STATES ATTORNEY

                                           /s/ Matthew A. Josephson
                                           Matthew A. Josephson
                                           Assistant United States Attorney

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                                Georgia Bar No. 367216

                                /s/ E. Greg Gilluly, Jr.
                                E. Greg Gilluly, Jr.
                                Assistant United States Attorney
                                Tennessee Bar No. 019397




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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (ANEF@) which was generated as a result

of electronic filing in this Court.

                                        Respectfully submitted,

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        /s/ Matthew A. Josephson
                                        Matthew A. Josephson
                                        Assistant United States Attorney
                                        Georgia Bar No. 367216

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